      Case
      Case 2:19-cv-00372-JCM-DJA
           2:19-cv-00372-JCM-DJA Document
                                 Document 36
                                          35 Filed
                                             Filed 09/18/20
                                                   09/17/20 Page
                                                            Page 1
                                                                 1 of
                                                                   of 5
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8

9                                   UNITED STATES DISTRICT COURT
10                                          DISTRICT OF NEVADA
11
     LAURA MORENO,                                           Case No.: 2:19-cv-372 -JCM-DJA
12
                              Plaintiff,
13
      vs.                                                    STIPULATION AND ORDER TO
14                                                           EXTEND DISCOVERY (FIFTH
     GEONNIE ALLUMS, individually; C.R.                      REQUEST)
15   ENGLAND, INC.; ENGLAND LOGISTICS, INC;
     and DOES 1 to 100, ROE CORPORATIONS 1 to
16   100, inclusive
17                            Defendants.
18
             Plaintiff LAURA MORENO, by and through her attorneys of record, FARHAN R.
19
     NAQVI and ELIZABETH E. COATS of NAQVI INJURY LAW, Defendants GEONNIE
20
     ALLUMS and C.R. ENGLAND, INC., by and through their counsel of record, MICHAEL P.
21
     LOWRY, ESQ. of WILSON ELSER MOSKOWITZ EDELMAN & DICKER LLP, submit this
22
     STIPULATION AND ORDER TO EXTEND DISCOVERY (FIFTH REQUEST) pursuant
23                                                                                        26-3
     Rules 6(b) and 26(f) of the Federal Rules of Civil Procedure and Local Rules 6-1 and 26-4 for the
24
     Court’s consideration:
25
                                                     I.
26
                                   DISCOVERY COMPLETED TO DATE
27
            1.   A 26(f) Conference was held and a Discovery Plan and Scheduling Order was filed.
28
            2.   Plaintiff made initial disclosures pursuant to FRCP 26(a) wherein medical records,
     Case
     Case 2:19-cv-00372-JCM-DJA
          2:19-cv-00372-JCM-DJA Document
                                Document 36
                                         35 Filed
                                            Filed 09/18/20
                                                  09/17/20 Page
                                                           Page 2
                                                                2 of
                                                                  of 5
                                                                     5




1             bills, and other documents and items have been disclosed.

2       3.    Plaintiff served first supplemental disclosures.

3       4.    Plaintiff served second supplemental disclosures.

4       5.    Plaintiff served third supplemental disclosures.

5       6.    Defendants made initial disclosures pursuant to FRCP 26(a).

6       7.    Defendants served first supplemental disclosures.

7       8.    Defendants served second supplemental disclosures.

8       9.    Defendants served third supplemental disclosures.
9       10. Defendants served fourth supplemental disclosures.

10      11. Defendants served fifth supplemental disclosures.

11      12. Plaintiff propounded a first set of requests for production upon Defendant Geonnie

12            Allums (responses pending).

13      13. Plaintiff propounded a first set of interrogatories upon Defendant Geonnie Allums

14            (responses pending).

15      14. Plaintiff propounded a first set of requests for production upon Defendant C.R.

16            England, Inc., to which responses have been provided.

17      15. Defendant C.R. England, Inc. has responded to Plaintiff’s first set of requests for

18            production.

19      16. Plaintiff propounded a first set of interrogatories upon Defendant C.R. England, Inc.

20      17. Defendant C.R. England, Inc. has responded to Plaintiff’s first set of interrogatories.

21      18.   Defendant C.R. England, Inc. served a first set of requests for production to Plaintiff,

22            to which responses have been provided.

23      19. Plaintiff made initial disclosures pursuant to FRCP 26(a) wherein medical records,

24            bills, and other documents and items have been disclosed.

25      20. Plaintiff served first supplemental disclosures.

26      21. Plaintiff served second supplemental disclosures.

27      22. Plaintiff has responded to Defendant C.R. England, Inc.’s second set of requests for

28            production.
                                                   -2-
     Case
     Case 2:19-cv-00372-JCM-DJA
          2:19-cv-00372-JCM-DJA Document
                                Document 36
                                         35 Filed
                                            Filed 09/18/20
                                                  09/17/20 Page
                                                           Page 3
                                                                3 of
                                                                  of 5
                                                                     5




1       23. Plaintiff propounded a first set of request for admissions to Defendant Geonnie

2            Allums.

3       24. Plaintiff propounded a first set of request for admissions to Defendant C.R. England,

4            Inc.

5       25. Defendants have served subpoena duces tecum to Nevada Highway Patrol and Trans

6            Vegas Express c/o National Registered Agents.

7       26. Plaintiff have served subpoena duces tecum to various facilities.

8       27. The deposition of Plaintiff has been taken.
9       28. The deposition of Defendant Geonnie Allums was noticed and proceeded forward, but

10           a non-appearance was taken as he did not attend.

11      29. Plaintiff has disclosed over 3,000 pages of records thus far, most of which are medical

12           records.

13      30. Plaintiff has disclosed 22 medical facilities to which she has presented for her

14           collision-related injuries.

15      31. Plaintiff has disclosed her initial experts and their reports.

16      32. Defendants have disclosed its initial experts and their reports.

17      33. Plaintiff has disclosed her rebuttal experts and their reports.

18      34. Defendants have disclosed its rebuttal experts and their reports.

19                                                  II

20                               DISCOVERY TO BE COMPLTED

21   1. Depositions of various witnesses including but not limited to:

22      a. The 30(b)(6) designee(s) for Defendant;

23      b. Plaintiff’s treating physicians;

24      c. Experts;

25      d. Other witnesses

26

27

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                                                   -3-
       Case
       Case 2:19-cv-00372-JCM-DJA
            2:19-cv-00372-JCM-DJA Document
                                  Document 36
                                           35 Filed
                                              Filed 09/18/20
                                                    09/17/20 Page
                                                             Page 4
                                                                  4 of
                                                                    of 5
                                                                       5




1                                                    III.

2      WHY DISCOVERY CANNOT BE COMPLETED IN THE TIME PROVIDED BY THE

3                                        SCHEDULING ORDER

4           Good cause exists in this case to grant a discovery extension. Plaintiff’s and Defendants’

5    counsel had been working together to schedule the deposition of Defendant C.R. England’s

6    30(b)(6), said deposition had to be postponed due to the COVID-19 outbreak. We have

7    tentatively scheduled the deposition for September 29, 2020. Further, the parties are in the

8    process of scheduling at least five of Plaintiff’s experts for deposition and are coordinating dates
9    for each expert and counsel.

10          Furthermore, the parties are exploring the possibility of participating in a mediation prior

11   to expending additional resources on this matter. In the interest of allowing the parties to

12   attempt resolution before expending additional resources in this matter, the parties respectfully

13   request that the discovery deadlines be extended as outlined below. This extension will help to

14   facilitate the parties’ attempt at resolving this matter by preserving the unnecessary expenditure

15   of costs and resources. Therefore, to allow sufficient time for the foregoing, the parties

16   respectfully request a continuance of the discovery deadlines in this matter as outlined in the

17   chart below.

18                                                   IV.

19          PROPOSED SCHEDULE FOR COMPLETING REMAINING DISCOVERY

20
                              DISCOVERY                    PROPOSED DEADLINE
21
                    Motion to Amend Pleadings:             Completed
22
                    Initial Expert Disclosures             Completed
23
                    Rebuttal Expert Disclosures:           Completed
24
                    Interim Status Report                  Completed
25
                    Close of Discovery                     December 23, 2020
26
                    Dispositive Motions:                   January 25, 2021
27
                    Joint Pre-Trial Order:                 February 25, 2021
28
                                                     -4-
     Case
     Case 2:19-cv-00372-JCM-DJA
          2:19-cv-00372-JCM-DJA Document
                                Document 36
                                         35 Filed
                                            Filed 09/18/20
                                                  09/17/20 Page
                                                           Page 5
                                                                5 of
                                                                  of 5
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1          DATED this 16th day of September, 2020.

2

3    NAQVI INJURY LAW
4

5
     BY:   /s/ Elizabeth E. Coats              BY:     /s/ Michael P. Lowry
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           Counsel for Plaintiff                       Attorneys for Geonnie Allums; C.R.
10                                                     England, Inc.
11

12                                           IT IS SO ORDERED
13
                                                                18th
                                                     Dated this _______ day of September, 2020
14

15                                                   _______________________________
                                                     DISTRICT
                                                     Daniel     COURT JUDGE
                                                            J. Albregts
16
                                                     United States Magistrate Judge
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